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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
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 5   ATTORNEY FOR DEFENDANT
     LENIN GALEANO
 6
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )                CR.-S-08-318-LKK
11                                  )
          PLAINTIFF,                )                ORDER RE WAIVER OF DEFENDANT’S
12                                  )                PRESENCE
          v.                        )
13                                  )
     LENIN GALEANO,                 )
14                                  )
          DEFENDANT.                )
15   _______________________________)
16
           Defendant, LENIN GALEANO, hereby waives the right to be present in person
17
     in open court upon the hearing of any motion or other proceeding in this cause,
18
     including, but not limited to, when the case is ordered set for trial, when a continuance
19
     is ordered, and when any other action is taken by the court before or after hearing,
20
     except upon arraignment, plea, impanelment of jury and imposition of sentence.
21
     Defendant, LENIN GALEANO, hereby requests the court to proceed during every
22
     absence of his which the court may permit pursuant to this waiver; agrees that his
23
     interests will be deemed represented at all times by the presence of his attorney, the
24
     same as if defendant LENIN GALEANO, were personally present and further agrees
25
     to be present in court ready for hearing any day and hour the court may fix in his
26
     absence.
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28                                               1
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 1         Defendant, LENIN GALEANO, further acknowledges that he has been
 2   informed of his rights under Title 18 U.S.C. sections 3161-3174 ( Speedy Trial Act),
 3   and authorizes his attorney to set times and delays under the Act without defendant
 4   LENIN GALEANO, being present and agrees to waive any and all time under both
 5   the federal constitution and the Speedy Trial Act regarding his rights to a speedy
 6   public jury trial. Defendant LENIN GALEANO, has had conversations with his
 7   lawyer about both his federal constitutional right and Speedy Trial Act rights for a
 8   speedy public jury trial and agrees to waive such times under both of his rights.
 9
10   DATED: 10-21-08
11                                   /s/ Lennin Galeano
                                     ___________________________________
12                                   LENIN GALEANO
                                     Original on file in Attorney’s Office
13
     DATED: 10-21-08
14
                               /s/ JAMES R. GREINER
15
                               ___________________________________
16
                               JAMES R. GREINER
17                             ATTORNEY FOR DEFENDANT
                               LENIN GALEANO
18
           IT IS SO ORDERED.
19
20   DATED: October 22, 2008
21
22
23
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25
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28                                              2
